                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

WILLIAM TEOH,                                    )
                                                 )      Case No. 5:20-cv-464
                  Plaintiff,                     )
                                                 )
v.                                               )
                                                 )      Removed from the District Court of
WELLS FARGO BANK, N.A.,                          )      Wake County, North Carolina
                                                 )      Small Claims
                  Defendant.                     )      Case No. 20-CV-4020
                                                 )
                                                 )

                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

Defendant Wells Fargo Bank, N.A. (“Wells Fargo”), by and through its undersigned counsel,

hereby removes this action from the District Court for Wake County, North Carolina, in which

court the case is currently pending, to the United States District Court for the Eastern District of

North Carolina. In support thereof, Wells Fargo states as follows:

                                       I.      Background

       1.      Wells Fargo exercises its rights under the provisions of 28 U.S.C. §§ 1331, 1441

and 1446 to remove this case from the District Court for Wake County, North Carolina. The

case is now pending under the name and style of William Teoh v. Wells Fargo Bank, N.A., Case

No. 20-CV-04020, Wake County, North Carolina District Court – Small Claims.

       2.      28 U.S.C. § 1441(a) provides:

               Except as otherwise expressly provided by Act of Congress, any civil
               action brought in a State court of which the district courts of the United
               States have original jurisdiction may be removed by the defendant or the
               defendants to the district court of the United States for the district and
               division embracing the place where such action is pending.
       3.      This civil action was instituted in state district court and has not been tried.

Plaintiff William Teoh filed his Complaint for Money Owed on July 31, 2020, naming Wells

Fargo as a defendant. Plaintiff appears to attempt to allege claims under the following federal

statute against Wells Fargo: 47 U.S.C. § 227 et seq. [Telephone Consumer Protection Act

(“TCPA”)]. Plaintiff alleges no facts in support of any of these claims.

       4.      Pursuant to 28 U.S.C. §1446(a), Wells Fargo has attached hereto as Exhibit A,

copies of all process, pleadings and orders served upon Wells Fargo to date.

                 II.     The Notice of Removal is Timely and Properly Filed.

       5.      Purportedly, Wells Fargo was served with a copy of Plaintiff’s Complaint for

Money Owed and Summons on August 6, 2020. The Complaint for Money Owed and Summons

were the initial pleadings received by Wells Fargo, and Wells Fargo is filing this Notice of

Removal within 30 days of receipt of these initial pleadings. Therefore, the Notice of Removal

is timely filed pursuant to 28 U.S.C. § 1446(b).

                               III.    Subject Matter Jurisdiction.

       6.      This case is being removed subject to the provisions of 28 U.S.C. § 1331. This

Court has original jurisdiction of this civil action pursuant to 28 U.S.C. § 1331, which provides

as follows: “The district courts shall have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.”

       7.      This Court has jurisdiction over this case because Plaintiff’s purported claims

allegedly arise under the laws of the United States.




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                                 IV.     Procedural Compliance

       8.      Pursuant to 28 U.S.C. § 1441 et seq., the right exists to remove this case from the

District Court for Wake County, in which court the case is currently pending, to the United

States District Court for the Eastern District of North Carolina.

       9.      The United States District Court for the Eastern District of North Carolina

embraces Wake County, North Carolina in which the action is now pending and, thus, this Court

is a proper venue for this action pursuant to 28 U.S.C. § 113. Venue is appropriate in this Court

pursuant to 28 U.S.C. § 1441(a). The District Court for Wake County is located within this

District and cases arising in the District Court for Wake County are properly assigned to the

United States District Court for the Eastern District of North Carolina. See 28 U.S.C. § 113.

       10.     Pursuant to 28 U.S.C. § 1446(d), Wells Fargo shall give Plaintiff written notice of

the filing of this Notice of Removal, and Wells Fargo shall file the written notice of the filing of

this Notice of Removal with the District Court for Wake County, attaching thereto a copy of this

Notice of Removal, and the documents attached to this Notice of Removal. An executed copy of

the Notice of Filing of Notice of Removal is attached hereto as Exhibit B.

       11.     In filing this Notice of Removal, Wells Fargo denies the allegations set forth in

the Complaint for Money Owed, denies that Plaintiff has stated a claim for which relief may be

granted, and denies that Plaintiff has been damaged in any manner. Wells Fargo does not waive,

and specifically reserves, any and all objections as to service, personal jurisdiction, defenses,

exceptions, rights and motions. No statement herein or omission here from shall be deemed to

constitute an admission by Wells Fargo of any of the allegations of or damages sought in the

Complaint for Money Owed.




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                                        V.     Conclusion

       WHEREFORE, Defendant Wells Fargo Bank, N.A. respectfully requests the above-

captioned action now pending in the District Court for Wake County, North Carolina be removed

to the United States District Court for the Eastern District of North Carolina, and that the United

States District Court for the Eastern District of North Carolina assume jurisdiction of this action

and enter such other and further orders as may be necessary to accomplish the requested removal

and promote the ends of justice. If any questions arise as to the proprietary of the removal of this

action, Wells Fargo requests the opportunity to present a brief and argument in support of its

position that this case is removable.

       This the 27th day of August, 2020.



                                          WOMBLE BOND DICKINSON (US) LLP

                                          /s/ B. Chad Ewing
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                                          Attorneys for Wells Fargo Bank, N.A.




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                               CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2020, the foregoing NOTICE OF REMOVAL was
filed with the Clerk of Court using the CM/ECF system, and a true and correct copy was sent via
first class mail, postage prepaid to the following:

              William Teoh, Pro Se
              8 Teahouse Court
              Durham, NC 27707



                                           /s/B. Chad Ewing
                                           B. Chad Ewing
